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United States Probation & Pretrial Services

United States District Court
Central District of California

Brian D. Karth
District Court Executive / Clerk of Court

Natasha Alexander-Mingo
Chief Probation & Pretrial Services Officer

FILED
CLERK, U.S. DISTRICT. COURT

Date: August 30, 2024
Re: Release Order Authorization
Docket Number: 2:24-cr-00461-FMO-3

CENTRAL psiRcT OF CALIFORNY Defendant: Jose Jaime Garcia
BY AIO.

To Whom It May Concern:

The above-referenced defendant was ordered released on a bond that includes the special
condition of placement into the Location Monitoring Program and RELEASE TO PRETRIAL
SERVICES ONLY. The Location Monitoring Unit has been advised and is available to release
the defendant from custody.

If you determine the bond has been satisfied, please prepare a release order with the RELEASE
TO PRETRIAL SERVICES ONLY box checked for the duty Magistrate Judge’s signature.

Sincerely,

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JARRYD TANEDO
U.S. Probation & Pretrial Services Officer
Telephone No. 213-651-5388
